

Jerez v 2141, LLC (2021 NY Slip Op 00525)





Jerez v 2141, LLC


2021 NY Slip Op 00525


Decided on February 02, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 02, 2021

Before: Renwick, J.P., Webber, González, Scarpulla, JJ. 


Index No. 25959/18 Appeal No. 13022N Case No. 2020-01605 

[*1]Griselda Diaz Jerez, Plaintiff- Respondent,
v2141, LLC, Defendant- Appellant.


Kaufman Borgeest &amp; Ryan LLP, Valhalla (Rebecca A. Barrett of counsel), for appellant.
Anthony J. Cugini, Riverdale, for respondent.



Order, Supreme Court, Bronx County (Laura G. Douglas, J.), entered February 5, 2020, which denied defendant's motion to compel certain discovery, unanimously affirmed, without costs.
The motion court providently exercised its discretion in denying defendant's motion to compel discovery on the ground that defendant failed to demonstrate that information relating to plaintiff's 2010 work-related back injury was relevant to her present shoulder and knee injury claims (see Lafata v Verizon Communications Inc., 180 AD3d 575 [1st Dept 2020]; Gumbs v Flushing Town Ctr. III, L.P., 114 AD3d 573 [1st Dept 2014], appeal withdrawn 25 NY3d 986 [2015]). Plaintiff testified that any difficulty that she had had walking due to the 2010 injury was mild, intermittent, and a result of pain rather than physiological causes, and that it had been resolved by surgery performed years before the accident from which the present claims arise (see Brito v Gomez, 33 NY3d 1126 [2019]; Bennett v Gordon, 99 AD3d 539 [1st Dept 2012]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 2, 2021








